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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

ROBERT T. BROCKMAN,                §
                                   §
          Plaintiff,               §
                                   §
          v.                       §     Civil Action No. 4:22-cv-00202-GCH
                                   §
UNITED STATES OF AMERICA,          §
                                   §
          Defendant.               §


  PLAINTIFF ROBERT T. BROCKMAN’S SUPPLEMENTAL MEMORANDUM
 (1) IN SUPPORT OF MOTION FOR DETERMINATION ON COMPLAINT FOR
    ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY OR
        (2) IN THE ALTERNATIVE, FOR A STAY OF IRS COLLECTION

      Expedited Time Limits Apply By Statute – See 26 U.S.C. § 7429(b)(3)
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                                      INTRODUCTION

       The IRS made a jeopardy assessment and issued a jeopardy levy against Robert T.

Brockman in September 2021, and has since seized millions of dollars from his and his

wife’s accounts, has had his retirement compensation paid directly to the IRS, and has

placed liens on properties belonging to him, his wife, and other third parties—all in the

absence of any judicial determination that any tax is due from Mr. Brockman.

Subsequently, Mr. Brockman filed a petition in the United States Tax Court captioned

Robert T. Brockman v. Commissioner, Dkt. No. 764-22 (“Tax Court Case”). The Tax

Court has sole jurisdiction to determine any tax liability against Mr. Brockman.

       The jeopardy assessment contends that Mr. Brockman owes $1,418,272,371.71 in

tax, penalty, and interest. By letter to the IRS dated March 15, 2022, counsel for BCT

Limited (“BCT”), the trustee of the A. Eugene Brockman Charitable Trust (“AEBCT” or

“Trust”), set out a proposal to place $1,450,000,000 in an account or accounts in the

United States to be available for any liability determined to be owed by Mr. Brockman

upon either the settlement or final appeal of the Tax Court case (“BCT’s Letter”).1

       As a result, the IRS has a ready source for full collection of any liability that may

be determined against Mr. Brockman. No jeopardy exists, and the jeopardy assessment

must be abated and the jeopardy levy released. In the alternative, and at a minimum, IRS

collection should be stayed pending resolution of this matter.



1
 A copy of BCT’s March 15, 2022 letter from Mark A. Srere, counsel for BCT, to James
Ashton, IRS Supervising Revenue Officer, and copied to counsel for the IRS and counsel for
both parties in this matter, among others, is attached as Ex. A to the March 18, 2022 Declaration
of Kathryn Keneally (“Keneally March 18, 2022 Decl.”).
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                                       ARGUMENT

I.     BCT’s Proposal Ensures That The IRS’s Ability To Collect Any Assessment
       Against Mr. Brockman Is Not Jeopardized.

       BCT’s Letter to the IRS states:

              [T]he Trustee proposes, subject to, and expressly conditioned upon
              the prior approval of the Supreme Court of Bermuda, that the
              Trustee provide the IRS the following security against the claimed
              tax liabilities underlying its jeopardy assessment conditioned on the
              IRS’s agreement not to place any liens against, or encumber in any
              way, other Trust assets and its abatement of the jeopardy assessment
              and release of the jeopardy levy:

                  1. The Trust will transfer all of the Trust’s assets that are currently held
                     by Bank Mirabaud in Switzerland (approximately $1.35 billion held
                     in United States Treasury bills) to a Trust account to be created at
                     one or more financial institutions located in the United States.[2] In
                     addition, it will procure a dividend of approximately $100 million
                     from Reynolds and Reynolds to go to the account(s), to make a total
                     of approximately $1,450,000,000 (together, the “Transferred
                     Assets”).

                  2. The Trustee will use some or all of the Transferred Assets to secure
                     the amount claimed in the jeopardy assessment against Brockman.
                     This can be accomplished, for example, by a lien in favor of the IRS
                     against the Transferred Assets, a Control Agreement that covers the
                     Transferred Assets, or a Standby Letter of Credit. For the latter, the
                     Trustee would obtain from one or more appropriately-rated U.S.
                     banks of recognized national standing one or more Standby Letters
                     of Credit in favor of the IRS in the amount of $1,450,000,000. The
                     Standby Letter or Letters of Credit would provide that the IRS may
                     draw upon it for any unpaid liability (a) in the event of a final
                     determination, including any appeal, of the pending United States
                     Tax Court case filed by Brockman (Docket No. 764-22) (the
                     “Case”), in the amount, if any determined to be due from Brockman
                     to the IRS / United States Treasury, or (b) in the event of a final


2
 In a footnote, BCT’s Letter adds: “The Trustee has already contacted several US financial
institutions that would agree to open accounts should agreement be reached with the IRS.
Keneally March 18, 2022 Decl. Ex. A at 2 n.1.

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                       settlement of the Case, in the amount, if any, determined thereunder
                       to be due from Brockman to the IRS / United States Treasury.

Keneally March 18, 2022 Decl. Ex. A at 2.

       BCT’s Letter makes clear that BCT is making this proposal to protect the interests

of the AEBCT and to address the impact that the pendency of the jeopardy assessment

and jeopardy levy has had on the operations and charitable programs of the AEBCT.3

Mr. Brockman has contended from the outset of the jeopardy assessment proceedings that

collection of any potential tax liability was not in jeopardy because the Reynolds &

Reynolds Company (“Reynolds & Reynolds”), an asset that the government contends is

owned by Mr. Brockman, is located in the United States and valued well in excess of the

purported liability assessed against Mr. Brockman.4 See Dkt. Nos. 10 at 4, 19; 35 at 3,

24-25, Ex. 4 at 2. According to BCT, “the jeopardy assessment and related allegations

have created a great deal of uncertainty about the Trust’s substantial shareholding in


3
 BCT’s counsel has expressly consented to the presentation of BCT’s Letter to this Court.
Counsel for the government has informed Mr. Brockman’s counsel that the government will
oppose this Court’s consideration of BCT’s Letter because BCT’s Letter bears a legend stating
that it is subject to Fed. R. Evid. 408. See Keneally March 18, 2022 Decl. Ex. A at 1. Under
Rule 408, this legend would restrict the potential use of statements in BCT’s Letter as an
admission by BCT concerning any disputed claim in an action between BCT and the IRS. The
legend has no bearing on this Court’s consideration of the impact of BCT’s Letter as to whether
the IRS’s jeopardy assessment and jeopardy levy are reasonable, or whether IRS collection
actions should be stayed. See Fed. R. Evid. 408(b).
4
 Reynolds & Reynolds is indirectly owned by the AEBCT. It is the government’s position that
the AEBCT is a sham and that Mr. Brockman is the owner of its assets, allegations that Mr.
Brockman has denied in this matter, in his plea to the indictment in United States v. Brockman,
No. 4:21-cr-00009 (SDTX) (Hanks, J.), and in his petition in the Tax Court Case. It remains his
position, however, that the government cannot have it both ways: it cannot simultaneously
contend that he owns a multi-billion dollar asset that is located in the United States, and at the
same time prevail in its contention that its ability to collect is in jeopardy. See Dkt. Nos. 10 at
19; 35, Ex. 4 at 2.

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[Reynolds & Reynolds], an operating company based in the United States that employs

more than 4,400 people and [is] currently worth in excess of $5 billion, and the annual

dividend distributions attached to that shareholding.” Keneally March 18, 2022 Decl. Ex.

A at 1-2. BCT’s Letter also states that the jeopardy assessment has given rise to

“uncertainty with finding financial institutions willing to maintain custody of significant

assets of the Trust,” disrupting “the Trust’s ability to meet existing charitable

commitments and expand future charitable giving.” Id. at 2.

       In its Opposition, the government complained that “[t]o date, Brockman has not (i)

pledged his [Reynolds & Reynolds] stock to the IRS, (ii) made any voluntary payments

toward his $1.4 billion jeopardy assessments, or (iii) posted a bond as allowed under

Section 6863(a) to stay the collection of the jeopardy assessments.” Dkt. No. 21 at 69.

BCT’s Letter squarely accomplishes what the government appears to be seeking:

           the account or accounts will be located in the United States;

           the investments are already overwhelmingly in U.S. Treasury bills;

           the available funds will be sufficient to meet any liability that is determined

              to be due upon a final determination in the Tax Court Case or the settlement

              of that case; and

           BCT has already engaged in discussions with U.S. financial institutions that

              are willing to open the necessary accounts to implement its proposal.

Keneally March 18, 2022 Decl. Ex. A at 2 and n.1. Indeed, it is the government’s

position that the funds currently held by Bank Mirabaud are the proceeds of investments

on which the government contends Mr. Brockman should have paid tax. Dkt. No. 21, Ex.
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2 at 35. While Mr. Brockman disputes that he has any liability, if it is ultimately

determined that he does, then the IRS would be able to look to the very funds that it

claims gave rise to any liability.

       BCT’s Letter summarizes that the trustee, BCT, was appointed by the Court of

Appeal for Bermuda as an independent trustee, “treating the Trust as a valid trust under

Bermuda law and recognizing the Trustee as independent from Brockman,” who is

described in BCT’s Letter as “merely a member of a class of discretionary beneficiaries

none of whom have control over the Trust assets or the actions of the Trustee.” Keneally

March 18, 2022 Decl. Ex. A at 1. BCT’s Letter continues: “Nor does Bermuda law

regard the Trust as the alter ego of Brockman.” Id. (emphasis in original). This is

important: in essence, according to the Bermuda trustee, under Bermuda law, the

government will face significant if not prohibitive barriers to the collection of offshore

assets held by the AEBCT. In stark contrast, BCT’s Letter proposes to relocate highly

liquid, highly stable assets in the United States, which would be fully available to pay any

liability that the IRS contends that it may someday seek to collect.

       There is simply no basis for the IRS to continue with the jeopardy assessment,

jeopardy levy, or ongoing collection actions under these circumstances.

II.    The Jeopardy Assessment Must Be Abated And The Jeopardy Levy Released.

       BCT’s Letter completely resolves any concern that the Court or the government

may have as to whether collection will be in jeopardy: BCT will place sufficient assets,

primarily in the form of U.S. Treasury bills, in a U.S. account, which will remain

available to pay a tax liability, if any, that is finally determined against Mr. Brockman.

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       A jeopardy assessment is an “extraordinary” measure meant to be used

“sparingly” and only in light of “exigent circumstances.” Fumo v. United States, No. 13-

3313, 2014 U.S. Dist. LEXIS 77082, at *45, *76 (E.D. Pa. 2014); see Clark v. Campbell,

501 F.2d 108, 110 (5th Cir. 1974) (describing a jeopardy assessment as “[a] weapon, little

known and previously not too often employed, having atomic potentialities. . . .”). The

IRS cannot sustain a jeopardy assessment when there are sufficient assets readily

available to pay any potential tax liability. See, e.g., Fumo, 2014 U.S. Dist. LEXIS

77082, at *97 (rejecting jeopardy when there are sufficient assets “to pay the assessed

taxes if the Tax Court ultimately finds them due and owing”).

       The parties are in agreement that this Court should consider events that occurred

after the issuance of the jeopardy assessment and jeopardy levy. See Dkt. Nos. 10 at 15

n.6; 21 at 63; see also Burd v. United States, 774 F. Supp. 903, 906 (D.N.J. 1991) (“In

assessing the reasonableness of the IRS’s actions, the Court is not limited to

consideration of the information available to the IRS at the time of the assessment but

must also consider any subsequently available information that might impact on the

reasonableness of the determinations.”); Fumo, 2014 U.S. Dist. LEXIS 77082, at *52

(same).

       The proposal in BCT’s Letter puts to rest any contention that the IRS’s ability to

collect may be in jeopardy. It is wholly determinative of the issues in the Complaint, and

accordingly the jeopardy assessment should be abated and the jeopardy levy released.




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III.      In The Alternative, This Court Should Stay Collection Actions By The IRS
          Pending A Final Determination Of This Matter.

          While Mr. Brockman continues to assert that the jeopardy assessment and

jeopardy levy against him were never reasonable, BCT’s Letter presents a dispositive

resolution: its offer to maintain assets in the United States that will remain available for

the collection of any tax liability renders moot any contention that the IRS may proceed

by jeopardy assessment and jeopardy levy.

          Once set in motion, the steps to finalize the arrangements proposed by BCT’s

Letter will obviously take some time, and this delay will continue to impose unnecessary

hardship on the Brockmans. To date, the IRS has seized funds from Mr. Brockman’s

accounts, as well as separate funds belonging to his wife. There is a lien on their former

residence, as well as properties in Mr. Brockman’s name, and other properties owned by

his wife and other third parties. His monthly retirement compensation is being paid

directly to the IRS.

          Although these assets may amount to millions or even tens of millions of dollars,

the IRS’s current collection actions are not reasonably calculated to put a meaningful

dent in the approximately $1.45 billion that it claims to be owed. The proposal in BCT’s

Letter, on the other hand, would allow for full collection of any liability that is ultimately

determined to be due.

          Under these circumstances, it is not reasonable for the IRS to continue its current

collection actions.5 It is Mr. Brockman’s position, for the reasons set out in the


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    In a meet and confer call on March 16, 2022 (one day after receiving BCT’s Letter), counsel for
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Complaint, his Motion for Determination, and his Reply in Support of the Motion for

Determination, as well as the grounds set out in this Supplemental Memorandum, that the

jeopardy assessment should be immediately abated and the jeopardy levy should be

released. If in the alternative the Court is inclined to wait until the steps required for the

implementation of the proposal in BCT’s Letter are completed, Mr. Brockman asks that

this Court stay collection actions in the interim.

       Section 7429(b)(3) of the Internal Revenue Code (“IRC”) requires that the

determination of whether to abate a jeopardy assessment and release a jeopardy levy must

be made by the District Court “[w]ithin 20 days after a proceeding is commenced.” IRC

§ 7429(c) provides that an extension of this 20-day period may be granted for up to 40

additional days, based solely on the request of the taxpayer upon a showing of reasonable

grounds. This Court granted Mr. Brockman’s unopposed motion to extend the time

period by an additional 40 days, setting March 21, 2022, as the deadline for a

determination. Dkt. No. 36.

       These time limitations are intended to provide swift relief in light of the hardships

faced by taxpayers as the result of an improper jeopardy assessment and collection

actions by the IRS. Vicknair v. United States, 617 F.2d 1129, 1131 (5th Cir. 1980)

(Congress authorized prompt review to “alleviate the severity” of jeopardy assessments

and levies); Clark, 501 F.2d at 110, 121 (District Court’s review provides the sole

safeguard against the IRS’s far-reaching power with respect to jeopardy assessments);


Mr. Brockman asked counsel for the government to consider an interim stay of collection in this
matter. This request was declined.
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Burd, 774 F. Supp. at 905 (“Realizing the drastic nature of this proceeding, Congress

concluded that the taxpayer should be able to obtain immediate judicial review of the

propriety of the jeopardy assessment.”). The statute cannot be read, however, to deprive

the Court of the ability to grant relief after the expiration of the 60-day period. Meadows

v. United States, 665 F.2d 1009, 1012 (11th Cir. 1982) (District Court does not lose

jurisdiction for failure to comply with the statutory deadlines because Congress “has

declared no consequence to the taxpayer or government should such a demand go

unheeded.”); Hiley v. United States, 807 F.2d 623, 627-28, n.7 (7th Cir. 1986) (IRC §

7429 deadlines are not “a limitation on the lower courts’ jurisdiction.”); Fumo v. United

States, No. 2:13-cv-003313, Dkt. No. 8, Court’s Scheduling Order (E.D. Pa. July 10,

2013) (granting a joint request to waive the statutory deadlines where the government

agreed not to take any collection action during pendency of case).

       IRC § 7429(b) provides this Court “broad discretion” in reviewing jeopardy

assessment cases, allowing the Court to abate the jeopardy assessment, release the

jeopardy lien, or “take such other action as the court finds appropriate.” Mrs. Phil. Home

for Senior Citizens, Inc. v. United States, No. 93-2355, 1993 U.S. Dist. LEXIS 19501, *4,

17 (D. Md. 1993); 26 U.S.C. § 7429(b)(4). Given that (i) Reynolds & Reynolds, an asset

that the IRS contends is owned by Mr. Brockman, is located in the United States, and is

worth a multiple of the potential liability at issue; (ii) there is a dearth of evidence that

Mr. Brockman is “designing quickly” to move assets beyond the reach of the

government, and (iii) BCT’s Letter proposes to provide a secured interest in liquid assets

that will be located in the United States in an amount sufficient to cover any potential

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liability, it is unreasonable to deprive Mr. Brockman of his retirement pay, or to prevent

Mrs. Brockman from selling a residence that the Brockmans left over one year ago, as the

IRS is currently doing. At a minimum, collection should be stayed and the Brockmans

should be permitted to go about their daily lives, subject to the final resolution of this

matter.

                                       CONCLUSION

          BCT’s Letter conclusively resolves that the government cannot meet its burden to

show that the IRS’s jeopardy assessment and jeopardy levy are reasonable. There is a

complete absence of evidence that Mr. Brockman was or appeared to be “designing

quickly” to move property beyond the reach of the government. No exigency exists

under IRC §§ 6861(a) and 6331(a) and Treasury Regulation § 301.6861-1(a). Nor is

there any risk that the IRS would be unable to collect any liability without a jeopardy

assessment. Accordingly, the jeopardy assessment should be abated and the jeopardy

levy released. In the alternative, and at a minimum, IRS collection actions should be

stayed.

Dated: March 18, 2022                          Respectfully submitted,

                                               /s/ Jason S. Varnado
                                               Jason S. Varnado
                                               Texas Bar No. 24034722
                                               SDTX Ad. ID No. 32166
                                               Email: jvarnado@jonesday.com
                                               Julia N. Camp
                                               Texas Bar No. 24123598
                                               SDTX Ad. ID No. 3688104
                                               Email: juliacamp@jonesday.com
                                               JONES DAY
                                               717 Texas, Suite 3300

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                                  Houston, TX 77002
                                  Telephone: 832-239-3939
                                  Facsimile: 832-239-3600

                                  Kathryn Keneally (Admitted Pro Hac Vice)
                                  New York Bar No. 1866250
                                  Email: kkeneally@jonesday.com
                                  Frank J. Jackson (Admitted Pro Hac Vice)
                                  New York Bar No. 2870251
                                  Email: fjackson@jonesday.com
                                  Michael J. Scarduzio (Admitted Pro Hac
                                  Vice)
                                  New York Bar No. 5147186
                                  Email: mscarduzio@jonesday.com
                                  Anthony J. DeRiso (Admitted Pro Hac Vice)
                                  New York Bar No. 5787312
                                  Email: aderiso@jonesday.com
                                  JONES DAY
                                  250 Vesey Street
                                  New York, NY 10281-1047
                                  Telephone: 212-326-3939
                                  Facsimile: 212-755-7306

                                   Irina K. Bleustein (Admitted Pro Hac Vice)
                                   District of Columbia Bar No. 1044772
                                   Email: ibleustein@jonesday.com
                                   JONES DAY
                                   51 Louisiana Avenue, N.W.
                                   Washington, D.C. 20001-2113
                                   Telephone: 202-879-3450
                                   Facsimile: 202-626-1700

                                  Attorneys for Plaintiff
                                  Robert T. Brockman




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                         CERTIFICATE OF CONFERENCE

      I certify that by email exchange on March 15 and 17, 2022, and by conference call

on March 16, 2022, counsel for parties met and conferred, and the government advised

counsel for Mr. Brockman that the government opposes placing BCT’s Letter in the record

and opposes Mr. Brockman’s request to stay collection.


                                                     /s/ Kathryn Keneally
                                                     Kathryn Keneally




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                             CERTIFICATE OF SERVICE

       I certify that on the 18th day of March, 2022, I electronically served this document

on all counsel of record.


                                                        /s/ Michael J. Scarduzio s
                                                        Michael J. Scarduzio




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